           18-13359-shl       Doc 1312 Filed 08/06/19 Entered 08/06/19 15:57:31                       Ntc of
                                     Transmittal of Record Pg 1 of 1
                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF NEW YORK
                                            One Bowling Green
                                         New York, NY 10004−1408


IN RE: Miami Metals I, Inc.                                  CASE NO.: 18−13359−shl

Social Security/Taxpayer ID/Employer ID/Other Nos.:          CHAPTER: 11
65−0853194



                                         NOTICE OF TRANSMITTAL OF
                                            RECORD OF APPEAL



All documents regarding the notice of appeal filed in the above referenced proceeding on June 28, 2019, document
number 1223, have been transmitted to the United States District Court for the Southern District of New York.

The record of appeal is complete and available electronically under civil case number 19−cv−6610 assigned to the
Honorable Gregory H. Woods.

Check the District Court Docket Sheet for the Briefing Schedule.

Please note that the United States District Court may request copies of all of the documents listed in the designation.


Dated: August 6, 2019                                              Vito Genna
                                                                   Clerk of the Court
